                     Case 2:13-cv-00193 Document 775-19 Filed on 11/19/14 in TXSD Page 1 of 1
 From                                                    Davis     Robin      on behalf of Peters Joe

Sent                                                     1032013          23352 PM
Subject                                                  Mobile        Election   Identification   Certificate   Station Information

Attachments                                              EIC Letter to Countiespdf             EIC Training       Instructionspdf




The Texas Department of Public Safety                                              DPS       in partnership       with the Office of the Texas Secretary           of State     is


working       to   ensure every eligible Texas voter has ample opportunity                                                to   obtain as conveniently      as   possible    photo

identification       required                           to   comply       with the Texas voter photo identification                 law


Attached to this email you will                                         find a letter regarding mobile Election                Identification   Certificate   EIC stations You
will   also   find instructions                              on   training    that will     be provided     to your      county     This training will   prepare you to run
                                                                                                                                                                            mobile

EIC stations         in your                       county


DPS will be sending you the Memorandum                                                  of Understanding          MOU between your County and DPS                   in   a separate

email



DPS has established                                an EIC email account                to   make it   easier     to   communicate      EIC2dpstexasgov           Please use this

account       when    sending                           emails to       DPS regarding mobile EIC stations


The point of contact                               at   DPS for mobile EIC stations is Mr                    MA Tony Rodriguez You                   can reach    Tony     at


5124245657             or at EICdpstexas gov



Thank you in advance                                    for agreeing to partner with               DPS and the         Secretary    of State in ensuring all eligible Texas voters

will   have ample opportunity                                     to   acquire an Election         Identification       Certificate




Joe Peters
Assistant          Director

Texas Department                                   of    Public Safety

Driver    License       Division




       2:13-cv-193
                              exhibitsticker.com




       09/02/2014

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